                                  Case 24-10942-BLS                 Doc 1        Filed 05/02/24           Page 1 of 27



Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)      24-                                            Chapter      11
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                New rue21, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          rue21, inc. (“rue21”)
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  88 Commonwealth Drive
                                  Warrendale, PA 15086
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Allegheny                                                      Location of principal assets, if different from principal
                                  County                                                         place of business



                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.rue21.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    New rue21, LLC                                                                                  Case number (if known)   24-
          Name


7.   Describe debtor's business         A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             4481

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?
     A debtor who is a “small               Chapter 9
     business debtor” must check            Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     a “small business debtor”)                                     exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second sub-                                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     box.
                                                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                    balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                    any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                    A plan is being filed with this petition.
                                                                    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                    accordance with 11 U.S.C. § 1126(b).
                                                                    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                    Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                    (Official Form 201A) with this form.
                                                                    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against
                                           Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a                               Western District of
     separate list.                               District        Pennsylvania                   When      05/15/2017               Case number    17-22045 (GLT)
                                                  District                                       When                               Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
                                           Yes.
    business partner or an
    affiliate of the debtor?


     List all cases. If more than 1,
     attach a separate list                       Debtor          See Schedule 1                                                   Relationship            Affiliates

                                                  District        Delaware                       When                              Case number, if known

Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 2
                                Case 24-10942-BLS                    Doc 1        Filed 05/02/24                Page 3 of 27
Debtor   New rue21, LLC                                                                           Case number (if known)   24-
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
                                    Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                                Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                 Yes.     Insurance agency
                                                          Contact name
                                                          Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                  25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                  50,001-100,000
                                    100-199                                         10,001-25,000                                More than 100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 24-10942-BLS                   Doc 1        Filed 05/02/24             Page 4 of 27
Debtor   New rue21, LLC                                                                            Case number (if known)   24-
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      05/02/2024
                                                  MM / DD / YYYY


                             X     /s/ Michele Pascoe                                                     Michele Pascoe
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Chief Executive Officer




18. Signature of attorney    X     /s/ Edmon L. Morton                                                     Date 05/02/2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Edmon L. Morton
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 1000 North King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-571-6600                  Email address      emorton@ycst.com

                                 3856 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                      ATTACHMENT A TO VOLUNTARY PETITION

    1. Pending Bankruptcy Cases Filed by Affiliates of the Debtor

       Concurrently herewith, each of the affiliated entities listed below, including the Debtor

filing this petition (the “Debtors”), filed a petition in the United States Bankruptcy Court for the

District of Delaware (the “Court”) for relief under chapter 11 of title 11 of the United States Code,

11 U.S.C. §§ 101–1532.


                 New rue21 Holdco, Inc.

                 r21 Holdings, Inc.

                 New rue21 Intermediate, Inc.

                 New rue21, LLC

                 r services llc

                 New RSC, LLC


       Contemporaneously with the filing of their voluntary petitions, the Debtors filed a motion

requesting that this Court jointly administer their chapter 11 cases for procedural purposes only.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    NEW RUE21 HOLDCO, INC., et al.,1                          Case No. 24-_____ (___)

                                Debtors.                      (Joint Administration Requested)


                          CONSOLIDATED LIST OF CREDITORS
                      HOLDING THE 30 LARGEST UNSECURED CLAIMS

        Set forth below is the list of creditors that hold, based upon information presently available
and belief, the thirty (30) largest unsecured claims (the “Top 30 List”) against New rue21 Holdco,
Inc. and its affiliated debtors and debtors in possession (collectively, the “Debtors”). This list has
been prepared based upon the books and records of the Debtors. The Top 30 List was prepared in
accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in the
Debtors’ chapter 11 cases. The Top 30 List does not include: (1) persons who come within the
definition of an “insider” as set forth in 11 U.S.C. § 101(31); or (2) secured creditors, including
those creditors with a right to setoff under applicable law, unless the value of the collateral (or
amount entitled to be offset) is such that the unsecured deficiency places the creditor among the
holders of the thirty (30) largest unsecured claims. The information presented in the Top 30 List
shall not constitute an admission by, nor is it binding on, the Debtors. The information presented
herein, including, without limitation, (a) the failure of the Debtors to list any claim as contingent,
unliquidated, disputed, or subject to a setoff; or (b) the listing of any claim as unsecured neither
constitutes an admission by the Debtors that the secured lenders listed hold any deficiency claims,
nor constitutes a waiver of the Debtors’ rights to contest the validity, priority, nature,
characterization, and/or amount of any claim.

                                           [List appears on next page]




1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their federal tax identification numbers,
     are New rue21 Holdco, Inc. (4668), r21 Holdings, Inc. (1618), New rue21 Intermediate, Inc. (9166), New rue21,
     LLC (4521), New RSC, LLC (4690), and r services llc (9425). The Debtors’ headquarters is located at 800
     Commonwealth Drive, Warrendale, PA 15086.
                                             Case 24-10942-BLS                      Doc 1          Filed 05/02/24                Page 7 of 27


         Fill in this information to identify the case:

         Debtor name New rue21 Holdco, Inc., et. al.

         United States Bankruptcy Court for the:                                     District of Delaware

         Case number (If known):
                                      24 -
                                                                                               (State)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing




        Official Form 204
        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
        Unsecured Claims and Are Not Insiders                                                                                                                                      12/15

        A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
        disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
        secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
        largest unsecured claims.1


         Name of creditor and complete                   Name, telephone number, and email                    Nature of       Indicate if       Amount of unsecured claim
         mailing address, including zip code             address of creditor contact                          the claim       claim is          If the claim is fully unsecured, fill in only
                                                                                                              (for            contingent,       unsecured claim amount. If claim is partially
                                                                                                              example,        unliquidated,     secured, fill in total claim amount and
                                                                                                              trade debts,    or disputed       deduction for value of collateral or setoff to
                                                                                                              bank loans,                       calculate unsecured claim.
                                                                                                              professional
                                                                                                              services,
                                                                                                              and
                                                                                                              government
                                                                                                              contracts)
                                                                                                                                                Total        Deduction for       Unsecured
                                                                                                                                                claim, if    value of            claim
                                                                                                                                                partially    collateral or
                                                                                                                                                secured      setoff
           Hybrid Promotions, LLC                      Attn: Stephen Sheer                                                                                                     $4,432,966.27
    1      10700 Valley View St                        Phone: (714) 952‐3866
           Cypress, CA 90630                           Email: ssheer@hybridapparel.com                            Trade


           Mark Edwards Apparel, Inc.                  Attn: Marla Kurtzman                                                                                                    $2,806,287.93
    2      848 Rue Jeanne-Mance                        Phone: (514) 388‐2353
           Montreal, QC H2P 1L5, Canada                Email: marla.kurtzman@markedwards.com                      Trade


           Salesforce.com, Inc.                        Attn: Catherine Harsono                                                                                                 $2,590,575.42
    3      415 Mission St 3rd Floor                    Phone: (800) 667‐6389                                   Professional
           San Francisco, CA 94105                     Email: charsono@salesforce.com                            Services

           Brooklyn Cloth LLC                          Attn: Daron Jacob                                                                                                       $2,403,397.91
    4      1385 Broadway Floor 16                      Phone: (212) 221-4700
           New York, NY 10018                          Email: daron@brooklyncloth.com                             Trade


           UCrave Inc.                                 Attn: Vida Wang                                                                                                         $1,766,467.88
    5      209 W 38th St Suite 1105                    Phone: (917) 291-0075
           New York, NY 10018                          Email: vida@ucraveinc.com                                  Trade


           Alone Again Studio, LLC                     Attn: Shawn Brown                                                                                                       $1,755,948.55
    6      1 Via Belorado                              Phone: (858) 336-5210
           San Clemente, CA 92672                      Email: shawn@aloneagainstudio.com                          Trade


           MDM25 Apparel Inc.                          Attn: Catherine Liu                                                                                                     $1,751,330.21
    7      1 California St                             Phone: (718) 249-9295
           Hicksville, NY 11801                        Email: catherine@dm12trading.com                           Trade




1       This list has been prepared based upon the books and records of the Debtors. The Top 30 List was prepared in accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure.
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       Just Polly Inc.                        Attn: Jamie Stuart                                                              $1,632,166.56
8      525 7th Ave                            Phone: (901) 779-4885
       New York, NY 10018                     Email: Jamie@justpollyinc.com                  Trade


       Merch Traffic, LLC                     Attn: Tom Bennett                                                               $1,530,950.93
9      129 W 29th St                          Phone: (917) 859‐9024
       Floor 11                               Email: tombennett@merchtraffic.com             Trade
       New York, NY 10001

       FedEx Billing Online                   Attn: Monica Fronzaglio                                                         $1,320,175.60
10     FedEx P.O. Box 371461                  Phone: (800) 463‐3339
       Pittsburgh, PA 15250                   Email: monica.fronzaglio@fedex.com             Trade


       Cushman & Wakefield Solutions, LLC Attn: Elizabeth Cocuzza                                                             $1,123,810.86
11     128 N. First St                    Phone: (919) 789‐4255                           Professional
       Colwich, KS 67030                  Email: elizabeth.cocuzza@cushwake.com             Services

       Sweet Apparel Inc.                     Attn: Joseph Hamra                                                              $884,569.43
12     1410 Broadway                          Phone: (347) 370‐2093
       New York, NY 10018                     Email: yossi818@yahoo.com                      Trade


       Hold This, Inc. dba Goodie Two         Attn: Jason Hallock                                                             $840,761.37
13     Sleeves                                Phone: (310) 502‐0251
       9400 Lurline Ave Suite C               Email: jason@goodietwosleeves.com              Trade
       Chatsworth, CA 91311

       Frontstreet Facility Solutions, Inc.   Attn: Skip Warner                                                               $839,653.68
14     4170 Veterans Memorial Hwy             Phone: (631) 750‐4000                       Professional
       Bohemia, NY 11716                      Email: swarner@frontstreetfs.com              Services

       Saramax Apparel, Inc.                  Attn: Eddie Betesh                                                              $760,972.24
15     1410 Broadway Floor 4                  Phone: (718) 913‐9990
       New York, NY 10018                     Email: ebetesh@saramax.com                     Trade


       First Insight, Inc.                    Attn: Bob Culhane                                                               $720,158.51
16     2000 Ericsson Dr Suite 200             Phone: (724) 759‐7141
       Warrendale, PA 15086                   Email: bob.culhane@firstinsight.com            Trade


       Gneiss, LLC                            Attn: Mike Jeong                                                                $602,623.54
17     450 Barell Ave                         Phone: (201) 496-6212
       Carlstadt, NJ 07072                    Email: mikej@rebelmindsus.com                  Trade


       Aptos, LLC                             Alfred Lapointe                                                                 $595,453.88
18     11175 Cicero Dr Suite 650              Phone: (440) 622‐7339                       Professional
       Alpharetta, GA                         Email: alfred.lapointe@aptos.com              Services

       Nite Fox LLC                           Attn: Michael Cohen                                                             $595,147.66
19     9211 Dale Ln Ct                        Phone: (817) 932-1300
       White Settlement, TX 76108             Email: Michael@cocobrands.com                  Trade


       Bravado International Group            Attn: Karin Kerns                                                               $482,333.52
20     Merchandising Services, Inc.           Phone: (856) 432-3700
       1755 Broadway 2nd Floor                Email: Karin.Kerns@umusic.com                  Trade
       New York, NY 10019

       Ven Bridge (HK) Co.                    Attn: Sean Gogarty                                                              $457,979.30
21     Duhui Rd Shan Ghai                     Phone:(415) 265-2537
       BLDG #90 NO. 2338                      Email: spgtextiles@gmail.com                   Trade
       Shanghai, China CandyDong

       Icer Basketball LLC                    Attn: Daron Jacob                                                               $441,220.72
22     1385 Broadway Floor 16                 Phone: (212) 221-4700
       New York, NY 10018                     Email: daron@brooklyncloth.com                 Trade


       TSC Miami                              Attn: Steven Nadler                                                             $437,431.34
23     16085 NW 52nd Ave                      Phone: (305) 622-6760
       Miami Gardens, FL 33014                Email: Steven@mlgbrands.com                    Trade


    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors
                                                                               - 2 Who
                                                                                   -   Have the 30 Largest Unsecured Claims      Page 3
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        A&G Realty Partners LLC              Attn: Jon Graub                                                                  $434,686.01
24      445 Broadhollow Rd Suite 410         Phone: (267) 228‐7808                        Professional
        Melville, NY 11747                   Email: jon@agrep.com                           Services

        DTiQ Services Inc.                   Attn: John Donnelly III                                                          $433,027.85
25      111 Speen St Suite 550               Phone: (800) 933-8388                           Trade
        Framingham, MA 01701                 Email: jdonnelly@dtiq.com
        Bioworld Merchandising, Inc.         Attn: Julie Kramer                                                               $412,973.92
26      1159 Cottonwood Ln                   Phone: +1 972-488-0655
        Irving, TX 75038                     Email: juliek@bioworldmerch.com                 Trade


        C-Life Group, Ltd.                   Attn: Hymie Shamah                                                               $408,695.31
27      1385 Broadway Suite 300              Phone: (917) 679-6180
        New York, NY 10018                   Email: hymie.shamah@c-lifegroup.com             Trade


        People Look Inc.                     Attn: Kathy Cho                                                                  $396,729.57
28      20 Enterprise Ave N                  Phone:+1 347-834-1723
        Seacaucus, NJ 07094                  Email: kathyc@igbenterprises-usa.com            Trade


        Sandy Alexander Inc.                 Attn: Michael Moskowitz                                                          $381,233.62
29      200 Entin Road                       Phone: (973) 470-8100                        Professional
        Clifton, NJ 07014                    Email: mm@sandyinc.com                         Services

        OK Originals Ltd.                    Attn: Peter Kaplan                                                               $350,082.24
30      389 5th Ave Suite 800                Phone: (212) 683-3554
        New York, NY 10016                   Email: pkaplan@okoriginals.com                  Trade




     Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors
                                                                               - 3 Who
                                                                                   -   Have the 30 Largest Unsecured Claims      Page 3
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                            OMNIBUS WRITTEN CONSENT OF
                               THE APPROVING PARTY
                                        OF
                            EACH COMPANY LISTED BELOW

                                           May 1, 2024

                The undersigned, being (a) each or a majority of the members of the board of
directors, or (b) the sole member, as applicable (in each case, an “Approving Party”) of

               (i)     New rue21 Holdco, Inc.
               (ii)    New rue21 Intermediate, Inc.
               (iii)   New rue21, LLC
               (iv)    New RSC, LLC
               (v)     r services llc

                (each such entity, a “Company” and, collectively, the “Companies”) do hereby
consent to, adopt and approve, ratify, and confirm by unanimous written consent, in each case
pursuant to and in accordance with (a) the provisions of such Company’s (i) articles of
incorporation or certificate of formation, as applicable, (ii) bylaws, limited liability company
agreement, or constitution, as applicable, and (iii) other organizational documents, as applicable,
and (b) the Limited Liability Company Act of the State of Delaware, the General Corporation Law
of the State of Delaware, the Virginia Limited Liability Company Act, and any other applicable
law, the following resolutions and authorize the taking of all actions contemplated hereby:

                WHEREAS, the Approving Party of each Company has reviewed and considered
the financial and operational condition of each Company and each Company’s business on the date
hereof, including the historical performance of each Company, the assets of each Company, the
current and long-term liabilities of each Company, the market for each Company’s assets, credit
market conditions, and macroeconomic conditions impacting each Company;

               WHEREAS, as a result of the financial condition of the Companies, the Companies
engaged counsel and financial advisors to provide advice to the Approving Party of each Company
regarding its obligations to its creditors, equity holders, employees, and other interested parties;

               WHEREAS, the Approving Party of each Company has had the opportunity to
consult with senior management of the Companies and the Companies’ legal, financial, and other
advisors and fully consider the strategic alternatives available to the Companies;

                WHEREAS, the Approving Party of each Company has received, reviewed, and
considered the recommendations of the senior management of each Company and each Company’s
legal and financial advisors as to the relative risks and benefits of pursuing a bankruptcy
proceeding under the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
101–1532 (the “Bankruptcy Code”) and has determined that, in its judgment, it is advisable and in
the best interests of the applicable Company, its creditors, equity holders, employees, and other
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interested parties that such Company voluntarily files petitions (the “Petitions” and, such cases,
the “Bankruptcy Cases”) for relief under the Bankruptcy Code.

               NOW, THEREFORE, BE IT:

               Commencement and Prosecution of Each Bankruptcy Case

                RESOLVED, that, in the judgment of the Approving Party of each Company, it is
desirable and in the best interests of each Company, its creditors, stockholders, employees, and
other interested parties that the Petitions be filed by each Company in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) commencing the Bankruptcy Cases
under the Bankruptcy Code; and it is further

                 RESOLVED, that the filing of each Petition on behalf of each Company be, and
the same hereby is, approved, authorized, and adopted in all respects and each Company’s chief
executive officer, chief financial officer, and general counsel (each of the foregoing, individually,
an “Authorized Officer” and together, the “Authorized Officers”), be, and they hereby are,
authorized and empowered on behalf of each Company, to execute, acknowledge, deliver, and
verify the Petition and to cause the same to be filed with the Bankruptcy Court at such time and in
such form as any of the Authorized Officers may determine (which approval and authorization
thereof shall be conclusively evidenced by the filing of each Petition with the Bankruptcy Court);
and it is further

                  RESOLVED, that the Authorized Officers be, and hereby are, authorized to
(a) execute and file each Petition for each Company, along with all schedules of assets and
liabilities, statements of financial affairs, lists, motions, applications, pleadings, declarations and
other papers that any of the Authorized Officers may determine necessary or proper in connection
with such Bankruptcy Case, (b) execute, acknowledge, deliver, and verify any and all documents
necessary or proper in connection with each Petition and to administer each Bankruptcy Case in
such form or forms as any of the Authorized Officers may determine necessary or proper and in
order to effectuate the foregoing resolutions, and (c) engage any professionals, including attorneys,
accountants, financial advisors, investment bankers, actuaries, consultants, brokers or other
experts, as any of the Authorized Officers determine necessary or proper to accomplish the
purposes of the resolutions, with any such determinations being conclusively evidenced by the
executing, filing, acknowledging, delivering, verifying, or engaging thereof by any such
Authorized Officer); and it is further

               Retention of Professionals

                RESOLVED, that the law firm of Willkie Farr & Gallagher LLP (“Willkie”),
located at 787 Seventh Avenue, New York, NY 10019, shall be, and hereby is, authorized, directed,
and empowered to represent each Company as general bankruptcy counsel, to represent and assist
each Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance each Company’s rights, including the preparation of pleadings and filings in each
Company’s Bankruptcy Case; and in connection therewith, the Authorized Officers be, and each
of them, acting alone or in any combination, hereby are, authorized, directed and empowered, on



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behalf of and in the name of each Company to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of each Bankruptcy Case, and to
cause to be filed an appropriate application for authority to retain the services of Willkie; and it is
further

                RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
(“Young Conaway”), located at 1000 North King Street, Wilmington, DE 19801, shall be, and
hereby is, authorized, directed and empowered to represent each Company as Delaware
bankruptcy counsel, to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights, including the
preparation of pleadings and filings in its Bankruptcy Case; and in connection therewith, the
Authorized Officers be, and each of them, acting alone or in any combination, hereby are,
authorized, directed and empowered, on behalf of and in the name of each Company to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of each Bankruptcy Case, and to cause to be filed an appropriate application for authority to
retain the services of Young Conaway; and it is further

                RESOLVED, that Riveron Consulting LLC (“Riveron”), located at 461 5th
Avenue, 12th floor, New York, NY 10017, shall be, and hereby is, authorized, directed, and
empowered to represent each Company as restructuring advisor, to represent and assist the
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance the Company’s rights and obligations in connection with the Bankruptcy Case; and in
connection therewith, the Authorized Officers be, and, acting alone or in any combination, hereby
are, authorized, directed, and empowered, on behalf of and in the name of the Company, to execute
appropriate retention agreements, pay appropriate retainers, if required, prior to and immediately
upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate motion or
application for authority to retain the services of Riveron; and it is further

                RESOLVED, that Kroll Restructuring Administration LLC (“Kroll”) and together
with Willkie, Young Conaway, and Riveron, the “Advisors”), located at 55 East 52nd Street, 17th
Floor, New York, NY 10055, shall be, and hereby is, authorized, directed and empowered to serve
as the notice, claims, solicitation and balloting agent in connection with each Bankruptcy Case;
and in connection therewith, the Authorized Officers be, and each of them, acting alone or in any
combination, hereby are, authorized, directed and empowered, on behalf of and in the name of
each Company to execute appropriate retention agreements, pay appropriate retainers, if required,
prior to and immediately upon the filing of each Bankruptcy Case, and to cause to be filed an
appropriate application for authority to retain the services of Kroll; and it is further

              RESOLVED, that the Advisors are hereby authorized to take any and all actions
necessary or desirable to advance each Company’s rights and obligations and facilitate each
Bankruptcy Case; and it is further

                RESOLVED, that each Authorized Officer shall be, and hereby is, authorized,
directed, and empowered, on behalf of and in the name of each Company, to employ any other
individual or firm as professionals, consultants, financial advisors, or investment bankers to each
Company as is deemed necessary to represent and assist each Company in carrying out its duties



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under the Bankruptcy Code, and, in connection therewith, each Authorized Officer shall be, and
hereby is, authorized, directed, and empowered, on behalf of and in the name of each Company,
to execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Bankruptcy Cases, and to cause to be filed an appropriate application or
motion for authority to retain the services of such individual or firms; and it is further

               Cash Collateral and Sale Process

                RESOLVED, that, in connection with the Bankruptcy Case, the Authorized
Officers shall be, and hereby are, authorized, directed, and empowered, in the name and on behalf
of the Company, as a debtor and debtor in possession, to (a) negotiate, execute, and deliver
agreements for the use of cash collateral in connection with the Bankruptcy Case on terms
substantially similar to those described or provided to the Board; (b) pledge and grant liens on the
Company’s assets as may be contemplated by or required under the terms of such cash collateral
use; or (c) execute, deliver, verify, and/or file, or cause to be filed and/or executed, delivered, or
verified, and to amend, supplement, or otherwise modify from time to time, all necessary and
appropriate documents, including, without limitation, affidavits, schedules, motions, pleadings,
and other documents, agreements, and papers, postpetition financing documents, and loan
agreements (including any ancillary documents thereto) in such form as the Authorized Officers
may approve, and to take any and all actions that the Authorized Officers determine advisable,
necessary, or appropriate in connection with any postpetition cash collateral usage contemplated
hereby or thereby (such approval and the approval of the Board to be conclusively evidenced by
the execution thereof or taking of such action by the Authorized Officer); and it is further

               RESOLVED, that in connection with the Bankruptcy Case, the Authorized
Officers shall be, and hereby are, authorized, directed, and empowered, in the name of and on
behalf of the Company, to commence a bidding and sale process for the Company’s assets and
pursue negotiations with any interested parties regarding a sale of such assets pursuant to section
363 of the Bankruptcy Code or otherwise; and it is further

                RESOLVED, that each of the Authorized Officers is authorized to make, execute,
file and deliver any and all consents, certificates, documents, instruments, amendments, papers or
writings as may be required in connection with or in furtherance of any of the foregoing, and to do
any and all other acts necessary or desirable to effectuate the foregoing resolutions, the execution
and delivery thereof by such Authorized Officer(s) to be deemed conclusive evidence of the
approval by the applicable Company of the terms, provisions and conditions thereof; and it is
further

                RESOLVED, that any and all past actions heretofore lawfully taken by any
Authorized Officer, or any other officers, directors, members or any authorized persons acting
under similar authority, as the case may be, of the applicable Company, or the Approving Party,
in the name and on behalf of the applicable Company in furtherance of any or all of the preceding
resolutions are hereby ratified, confirmed, adopted and approved in all respects; and it is further




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               General Resolutions

               RESOLVED, that the Authorized Officers shall be, and hereby are, authorized,
directed, and empowered, in the name and on behalf of each Company, as a debtor and debtor in
possession, to negotiate, execute, deliver, and perform on behalf of each Company such actions
and execute, acknowledge, deliver and verify such agreements, certificates, instruments,
guaranties, notices, and any and all other documents, and to amend, supplement or otherwise
modify from time to time agreements, certificates, instruments, guaranties, notices, and all other
documents, including, without limitation, affidavits, schedules, motions, pleadings and other
documents, agreements and papers, in such form as an Authorized Officer may approve, and to
take any and all actions that an Authorized Officer determine advisable, necessary or appropriate
in connection with the Bankruptcy Cases or as the Authorized Officers may deem necessary or
proper to facilitate the transactions contemplated by these resolutions (such approval and the
approval of each Company to be conclusively evidenced by the execution thereof or taking of such
action by an Authorized Officer); and it is further

               RESOLVED, that the Authorized Officers be, and each of them hereby are,
authorized, empowered and directed to pay all qualification, filing, legal and other expenses
incurred in connection with any of the foregoing resolutions; and it is further

                RESOLVED, that all acts done or actions taken prior to the date hereof by the
Authorized Officers or any professionals engaged by each Company with respect to any
transactions contemplated by the foregoing resolutions, or otherwise in preparation for or in
connection with each Bankruptcy Case, or any proceedings related thereto, or any matter related
thereto, be, and hereby are, adopted, approved, authorized ratified, and confirmed in all respects
as the acts and deeds of each Company.

                                    [Signature Page Follows]




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             IN WITNESS WHEREOF, the undersigned have hereunto set their names as of the date first
             above written.

                                                      BOARD OF DIRECTORS OF
                                                      NEW RUE21 INTERMEDIATE, INC.



                                                      By:
                                                            Joshua Burris


                                                      By:
                                                            Michele Pascoe
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                              Case  24-10942-BLS Doc 1      Filed 05/02/24   Page 16 of 27




             IN WITNESS WHEREOF, the undersigned have hereunto set their names as of the date first
             above written.

                                                      BOARD OF DIRECTORS OF
                                                      NEW RUE21 INTERMEDIATE, INC.



                                                      By:
                                                            Joshua Burris


                                                      By:
                                                            Michele Pascoe
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                              Case 24-10942-BLS Doc 1       Filed 05/02/24   Page 17 of 27




             IN WITNESS WHEREOF, the undersigned have hereunto set their names as of the date first
             above written.

                                                      BOARD OF DIRECTORS OF
                                                      NEW RUE21 HOLDCO, INC.



                                                      By:
                                                            Joshua Burris


                                                      By:
                                                            Michele Pascoe
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                              Case  24-10942-BLS Doc 1      Filed 05/02/24   Page 18 of 27




             IN WITNESS WHEREOF, the undersigned have hereunto set their names as of the date first
             above written.

                                                      BOARD OF DIRECTORS OF
                                                      NEW RUE21 HOLDCO, INC.



                                                      By:
                                                            Joshua Burris


                                                      By:
                                                            Michele Pascoe
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                              Case  24-10942-BLS Doc 1      Filed 05/02/24   Page 19 of 27




             IN WITNESS WHEREOF, the undersigned have hereunto set their names as of the date first
             above written.

                                                      NEW RUE21 HOLDCO, INC.,
                                                      the sole member of New Uue21, LLC


                                                      By:
                                                            Michele Pascoe
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                              Case  24-10942-BLS Doc 1      Filed 05/02/24   Page 20 of 27




             IN WITNESS WHEREOF, the undersigned have hereunto set their names as of the date first
             above written.

                                                      NEW RUE21, LLC,
                                                      the sole member of New RSC, LLC


                                                      By:
                                                            Michele Pascoe
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                              Case  24-10942-BLS Doc 1      Filed 05/02/24   Page 21 of 27




             IN WITNESS WHEREOF, the undersigned have hereunto set their names as of the date first
             above written.

                                                      NEW RUE21, LLC
                                                      the sole member of r serviceVllc


                                                      By:
                                                            Michele Pascoe
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    NEW RUE21 HOLDCO, INC., et al.,1                          Case No. 24-_____ (___)

                                Debtors.                      (Joint Administration Requested)


                 CONSOLIDATED CORPORATE OWNERSHIP
                STATEMENT AND LIST OF EQUITY INTEREST
     HOLDERS PURSUANT TO FED R. BANKR. P. 1007(A)(1), 1007(A)(3), AND 7007.1

         Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the debtors and debtors in possession in the above-captioned cases (the “Debtors”), to

the best of their knowledge, information, and belief, hereby state as follows:

         1.       New rue21 Intermediate, Inc. is a wholly owned subsidiary of r21 Holdings, Inc.

New rue21 Holdco, Inc. is a wholly owned subsidiary of New rue21 Intermediate, Inc. New rue21,

LLC is a wholly owned subsidiary of New rue21 Holdco, Inc. New RSC, LLC and r services llc

are wholly owned subsidiaries of New rue21, LLC.

         2.       Affiliates of Blue Torch Finance, LLC and Nut Tree Master Fund, LP each directly

or indirectly own 10% or more of the equity interests in the Debtors in the aggregate.

         3.       A list of the Debtors’ equity interest holders and the nature of their equity interests

is attached hereto as Exhibit A.2




1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their federal tax identification numbers,
     are New rue21 Holdco, Inc. (4668), r21 Holdings, Inc. (1618), New rue21 Intermediate, Inc. (9166), New rue21,
     LLC (4521), New RSC, LLC (4690), and r services llc (9425). The Debtors’ headquarters is located at 800
     Commonwealth Drive, Warrendale, PA 15086.
2
     As of February 29, 2024.
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                         Exhibit A

        List of the Debtors’ Equity Interest Holders
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                                                                         Percentage
               Name & Address                        Number
                                                                       (Total Classes)
                                   Class A, B, C Common Stock
Blue Torch Finance, LLC
150 East 58th Street, 39th Floor
                                                    9,566,375              78.61%
New York, NY 10155

Nut Tree Master Fund, LP
55 Hudson Yards, 22nd Floor
                                                    2,593,006              21.30%
New York, NY 10001

Pentwater Capital Management LP
LMA, PWCM, OCEANA
1001 10th Avenue South, Suite 216                     8,378                <1.00%
Naples, FL 34102

Nomura Corporate Research and Asset
Management Inc.
309 West 49th Street                                   937                 <1.00%
New York, NY 10019

Merchant Business Credit Inc.
1441 Broadway, 22nd Floor
                                                       515                 <1.00%
New York, NY 10018

Cantor Fitzgerald & Co.
110 East 59th Street
                                                       15                  <1.00%
New York, NY 10022

Silver Point Capital, L.P.
Two Greenwich Plaza
                                                       14                  <1.00%
Greenwich, CT 06830

Voya Investment Management Co. LLC
7337 East Doubletree Ranch Road, Suite 100
                                                       10                  <1.00%
Scottsdale, AZ 85258

Warberg WF XI LP
716 Oak Street
                                                       10                  <1.00%
Winnetka, IL 60093

JP Morgan Chase Funding, Inc.
270 Park Avenue
                                                        7                  <1.00%
New York, NY 10017

Stone Hill Capital Management, LLC
885 3rd Avenue #3010
                                                        7                  <1.00%
New York, NY 10022
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Octagon Credit Investors LLC
250 Park Avenue, 15th Floor
                                                        3                  <1.00%
New York, NY 10177

Cermak Road LLC
9 West 57th Street, 31st Floor
                                                        2                  <1.00%
New York, NY 10019

Wolverine Asset Management, LLC
175 West Jackson Blvd #200
                                                        2                  <1.00%
Chicago, IL 60604

Employees Retirement System TX
2000 E 18th Street
                                                        1                  <1.00%
Austin, TX 78701

Empyrean Investments LLC
10250 Constellation Blvd, Suite 2950
                                                        1                  <1.00%
Los Angeles, CA 90067

Hutchin Hill Capital (Cherry Valley)
888 7th Avenue, 22nd Floor
                                                        1                  <1.00%
New York, NY 10106

Merrill Lynch Pierce Fenner & Smith
230 Vesey Street
                                                        1                  <1.00%
New York, NY 10080

Robert Brous
[ADDRESS ON FILE]                                       1                  <1.00%

Robert Corliss
[ADDRESS ON FILE]                                       1                  <1.00%

Scarsdale Capital LLC
2001 Wilshire Blvd, Suite 302
                                                        1                  <1.00%
Santa Monica, CA 90403

Stifel Nicolaus & Company Inc.
501 N. Broadway
                                                        1                  <1.00%
St. Louis, MO 63102

Accord Financial, Inc.
75 Beattie Place, Suite 910
                                                        1                  <1.00%
Greenville, SC 29601




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Branch Banking & Trust Company D/B/A BB&T
Commercial Finance
214 North Tyron Street                                     1                  <1.00%
Charlotte, NC 28202

Capital Business Credit
1155 Avenue of Americas, 15th Floor
                                                           1                  <1.00%
New York, NY 10036

Goldman Sachs & Co. LLC
200 West Street
                                                           1                  <1.00%
New York, NY 10282

Mark Edwards Apparel, Inc.
8480 Rue Jeanne-Mance
                                                           1                  <1.00%
Montréal, QC H2P 1L5, Canada

Merchant Business Credit Inc.
1441 Broadway, 22nd Floor
                                                           1                  <1.00%
New York, NY 10018

New Commercial Capital Inc.
3530 Wilshire Blvd #380
                                                           1                  <1.00%
Los Angeles, CA 90010

The CIT Group Commercial Services Inc.
301 South Tyron Street
                                                           1                  <1.00%
Charlotte, NC 28282

Thread Collective, Inc.
5001 Rue Levy
                                                           1                  <1.00%
Saint-Lauren, QC H4R 2N9, Canada

Tru Fragrance & Beauty LLC
350 5th Avenue #6100
                                                           1                  <1.00%
New York, NY 10118

White Oak Commercial Finance LLC
1155 Avenue of the Americas, 15th Floor
                                                           1                  <1.00%
New York, NY 10036




                                                  -3-
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 Fill in this information to identify the case:


 Debtor name               New rue21, LLC


 United States Bankruptcy Court for the:                              DISTRICT OF DELAWARE



 Case number (if known)                    24-

                                                                                                                                                                                                              Check if this is an
                                                                                                                                                                                                              amended filing




Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15



An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy
Rules 1008 and 9011.


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Declaration and signature




         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a representative of the debtor in this case.


         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                       Schedule H: Codebtors (Official Form 206H)

                       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                       Amended Schedule

                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                       Other document that requires a declaration                                    Corporate Ownership Statement, List of Equity Holders


         I declare under penalty of perjury that the foregoing is true and correct.


           Executed on                05/02/2024                                         X   /s/ Michele Pascoe
                                                                                             Signature of individual signing on behalf of debtor


                                                                                             Michele Pascoe
                                                                                             Printed name


                                                                                             Interim Chief Executive Officer
                                                                                             Position or relationship to debtor
